         Case 1:10-cv-04270-SHS Document 57 Filed 01/20/12 Page 1 of 2
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------x
SECURITIES AND EXCHANGE COMMISSION,

                                      Plaintiff,
                                                                     10 CIV. 4270 (SHS)
-against-

KENNETH IRA STARR, STARR INVESTMENT
ADVISORS, LLC, and STARR & COMPANY, LLC,

                       Defendants,

DIANE PASSAGE and COLCAVE, LLC,

                Relief Defendants.
-----------------------------------------x
             ORDER TERMINATING RECEIVERSHIPS OF STARR INVESTMENT
                 ADVISORS, LLC AND STARR & COMPANY, LLC

        Upon the motion of Aurora Cassirer (the "Receiver"), as receiver for Defendants Starr

Investment Advisors, LLC("SIA") and Starr & Company, LLC ("Starrco") and Relief

Defendant Colcave, LLC ("Colcave"), for an Order terminating the receiverships of SIA and

Starrco and granting related relief (the "Motion"); and upon the consent of the Plaintiff Securities

and Exchange Commission (the "SEC"), and due and sufficient notice having been given, it is

hereb~      -f1:/. ~ ~/;vtjJ<. M~.:. ~ ~ J-;                                                             <r>-
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         ORDERED, that the Motion is granted to the extent set forth below; and it is further



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              Case 1:10-cv-04270-SHS Document 57 Filed 01/20/12 Page 2 of 2



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          ORDERED, that the receiverships of SIA and starrco{are hereby terminated; and it is

further

          ORDERED, that the Receiver and her employees, agents and attorneys are hereby

released and di)cparged froJ;11: (a) any further duties or obligations with respect to the SIA and
              J~)llG
Starrco[receiverships, and (b) any liability for all actions related to, tpe SIA and Starrco         J ~lI.c
                                                                   ~~)Lt-C
receiverships and for serving as the Receiver for SIA and Starrc~ provided that the Receiver

shall have the continuing duty to turn over to the Chapter 7 trustee for SIA and Starrco assets or

property of those estates, as set forth below; and it is further

          ORDERED, that the Receiver is authorized and directed to turn over to the Chapter 7

trustee for SIA and Starrco all funds held by the Receiver in the receivership accounts for those

entities; and it is further

          ORDERED, that the Receiver is authorized and directed to turn over to the Chapter 7

trustee for SIA and Starrco all other assets or property of the SIA and/or Starrco estates in the

Receiver's possession, custody or control, including without limitation books and records of SIA

and Starrco and files maintained by SIA or Starrco for their former clients and computer

equipment, art work, decorative objects, books, memorabilia and other personal property located

at the Starrco office premises at 850 Third A venue, New York, New York.

          Issued at           ?I to   .m., at New York, New York, this ~ day of-+-+--_~7---+-

2012.




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